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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                                       MDL NO 2924
   PRODUCTS LIABILITY                                                                                20-MD-2924
   LITIGATION
                                                                   JUDGE ROBIN L ROSENBERG
                                                           MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

           AGREED ORDER GRANTING UNOPPOSED MOTION TO DROP
       MEDICINE SHOPPE INTERNATIONAL, INC. FROM MASTER COMPLAINTS

           THIS CAUSE came before the Court on Plaintiffs’ Co-Lead Counsel’s Unopposed

   Motion to Drop Medicine Shoppe International, Inc. from Master Complaints [DE # 2486],

   without prejudice, pursuant to Pretrial Order # 40 [DE # 1498] and Federal Rule of Civil Procedure

   21. 1 Having reviewed the Unopposed Motion, and being otherwise fully advised in the premises,

   it is hereby ORDERED and ADJUDGED that the Unopposed Motion is GRANTED. Defendant

   Medicine Shoppe International, Inc. is dropped, without prejudice, from the following Master

   Complaints:

                    a.       Master Personal Injury Complaint [DE # 887] at ¶ 186; and

                    b.       Consolidated Consumer Class Action Complaint [DE # 889] at ¶ 395.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 21st day of

   December, 2020.


                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE




   1
     “Master Complaints” refers collectively to the Master Personal Injury Complaint [DE # 887], Consolidated
   Consumer Class Action Complaint [DE # 889], and Third-Party Payor Class Complaint [DE # 888]. Pursuant to
   Pretrial Order # 40, the specific paragraph number in the corresponding Master Complaint affected by the modification
   are identified herein.
